Case 06-10290-AJC Doc1
Official Form 1/10/05)

Filed 01/31/06 Page 1 of 27

 

Southern District of Florida

United States Bankruptcy Court

Voluntary Petition

 

 

Name of Debtor (if individual, enter Last, First, Middle):
Tarrio, Henry

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all)
XXX-XX-7147

Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all)

 

Street Address of Debtor (No. & Street, City, and State):
1260 Kasim Street
Opa Locka, FL

Street Address of Joint Debtor (No. & Street, City, and State):

 

 

ZIP Code ZIP Code
33054
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Miami-Dade
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
ZIP Code ZIP Code

 

 

Location of Principal Assets of Business Debtor
(if different from street address above):

 

Nature of Business
(Check all applicable boxes.)

0 Health Care Business

OO Single Asset Real Estate as defined
in 11 U.S.C. § 101 (51B)

O Railroad

O1 Stockbroker

O01 Commodity Broker
O Clearing Bank

1 Nonprofit Organization qualified
under 15 U.S.C. § 501(c)(3)

Type of Debtor (Form of Organization)
(Check one box)

WH Individual (includes Joint Debtors)
0 Corporation (includes LLC and LLP)
O Partnership

O) Other (If debtor is not one of the above
entities, check this box and provide the
information requested below.)

State type of entity:

 

Chapter of Bankruptcy Code Under Which
the Petition is Filed (Check one box)

C) Chapter 7 O Chapter 11 O) Chapter 15 Petition for Recognition
of a Foreign Main Proceeding
O Chapter 9 O) Chapter 12 O Chapter 15 Petition for Recognition

of a Foreign Nonmain Proceeding
Chapter 13

 

Nature of Debts (Check one box)

@ Consumer/Non-Business O) Business

 

Filing Fee (Check one box)
Wi Full Filing Fee attached

O Filing Fee to be paid in installments (Applicable to individuals only) Must
attach signed application for the court's consideration certifying that the debtor
is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

O Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
attach signed application for the court's consideration. See Official Form 3B.

 

Chapter 11 Debtors
Check one box:

(] Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
0 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

 

Check if:

0 Debtor's aggregate noncontingent liquidated debts owed to non-insiders
or affiliates are less than $2 million.

 

 

 

 

 

Statistical/Administrative Information THIS SPACE IS FOR COURT USE ONLY
BB Debtor estimates that funds will be available for distribution to unsecured creditors.
0 Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds
available for distribution to unsecured creditors.
Estimated Number of Creditors
1- 50- 100- 200- 1000- 5001- 10,001 - 25,001- 50,001- OVER es
49 99 199 999 5,000 10,000 25,000 50,000 100,000 100,000 ea .
= oO Oo oO Oo Oo Oo o Oo Oo ws
Estimated Assets «
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than g : -
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million te -
Oo Oo a Oo Oo oO oO Oo pics "
my
Estimated Debts me
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than .
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million
QO 0 a O oO oO Oo 0

 

 

 

 
Case 06-10290-AJC Doc1 Filed 01/31/06 Page 2 of 27

(Official Form 1) (10/05)

FORM B1, Page 2

 

Voluntary Petition

(This page must be completed and filed in every case)

Name of Debtor(s):
Tarrio, Henry

 

Prior Bankruptcy Case Filed Within Last 8

Years (If more than one, attach additional sheet)

 

 

 

 

 

 

(To be completed if debtor is required to file periodic reports (e.g.,
forms 10K and 10Q) with the Securities and Exchange Commission
pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
and is requesting relief under chapter 11.)

O) Exhibit A is attached and made a part of this petition.

Location Case Number: Date Filed:
Where Filed: - None -
Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
- None -
District: Relationship: Judge:
Exhibit A Exhibit B

(To be completed if debtor is an individual debts are primarily consumer debts.)

  
 
  
  
 

I, the attorney for the petitioner ngthed in the foxegoing petition, declare that I
have informed the petitioner thgf [he or she] may\proceed under chapter 7, 11,
12, or 13 of title 11, United Sfates Code, and have\explained the relief available
under each such chapter.
I further certify that I dey
the Bankruptcy Cod

ed to the debtor the nptice required by §342(b) of

 

Xe
Zs Atto * r Debtor(s) Date
~~ JohryD. Bristol |

 

Exhibit C
Does the debtor own or have possession of any property that poses or
is alleged to pose a threat of imminent and identifiable harm to public
health or safety?

O Yes, and Exhibit C is attached and made a part of this petition.

HE No

~~ Certification Concerning Debt Counseling
by Individual/Joint Debtor(s)

@ I/ve have received approved budget and credit counseling during
the 180-day period preceding the filing of this petition.

O I/we request a waiver of the requirement to obtain budget and
credit counseling prior to filing based on exigent circumstances.
(Must attach certification describing.)

 

 

days immediately preceding the date of this petition or for

sought in this District.

Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)

Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180

a longer part of such 180 days than in any other District.

There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
this District, or has no principal place of business or assets in the United States but is a defendant in an action or
proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief

 

Statement by a Debtor Who Resides

Landlord has a judgment against the debtor for possession

as a Tenant of Residential Property

Check all applicable boxes.

of debtor's residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

possession was entered, and

after the filing of the petition.

 

Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for

Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period

 

 
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 3 of 27

Official Form 1) (10/05)

FORM BI, Page 3

 

Voluntary Petition

(This page must be completed and filed in every case)

Name of Debtor(s):
Tarrio, Henry

 

Signatures

Signature(s) of Debtor(s) (Individuai/Joint)

I declare under penalty of perjury that the information provided in
this petition is true and correct.

[If petitioner is an individual whose debts are primarily consumer
debts and has chosen to file under chapter 7] I am aware that I may
proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, understand the relief available under each such chapter, and
choose to proceed under chapter 7.

[If no attorney represents me and no bankruptcy petition preparer
signs the petition] [have obtained and read the notice required by
§342(b) of the Bankpuptcy Code.

‘accordance with the chapter of title 11, United

1 request r ef,
ecified in this petition.

~ States C de, p
Si

xX

   
    
  

 

re of Debtor Henry Tarrio

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition
is true and correct, that I am the foreign representative of a debtor ina foreign
proceeding, and that I am authorized to file this petition.

(Check only one box.)

(7 | request relief in accordance with chapter 15 of title 11. United States Code.
Certified copies of the documents required by §1515 of title 11 are attached.

-D Pursuant to §1511 of title 11, United States Code, I request relief in accor-
dance with the chapter of title 11 specified in this petition. A certified copy
of the order granting recognition of the foreign main proceeding is attached.

XxX

 

Signature of Foreign Representative

 

Printed Name of Foreign Representative

 

Date

 

Signature of Joint Debtor

Gs.
Telephone Number (If not represented by atto y)
i [70

0G
Date Ze /

 

 

DOA —

X
LEP Money for Debtor(s)

Joh Bristol 767425
Printed Name of Attorney for Debtor(s)

Law Office of John Bristol
Firm Name

400 N. Pine island Road
Second Floor

Plantation, FL 33324

 

Address

Email: bristol1@bellsouth.net
_(954) 475-2265 Fax: (954) 472-6033

Telephone Number

 

 

Date

 

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11,
United States Code, specified in this petition.

xX

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

 

Signature of Non-Attorney Bankruptcy Petition Preparer

] declare under penalty of perjury that: (1) lama bankruptcy
petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
document for compensation and have provided the debtor with a
copy of this document and the notices and information required
under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
setting a maximum fee for services chargeable by bankruptcy
petition preparers, ] have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or
accepting any fee from the debtor, as required in that section.
Official Form 19B is attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social Security number (If the bankrutpcy petition preparer is not
an individual, state the Social Security number of the officer,
principal, responsible person or partner of the bankruptcy petition
preparer. (Required by 11 U.S.C. § 110.) ‘

 

Address

xX

 

 

Date

Signature of Bankruptcy Petition Preparer or officer, principal,
responsible person,or partner whose social security number is
provided above.

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document unless the
bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the
Provisions of title 11 and the Federal Rules of Bankruptcy
Procedure may result in fines or imprisonment or both 11 U.S.C.
$110; 18 USC. $156.

 

 
Case 06-10290-AJC Doc1 Filed 01/31/06 Page 4 of 27

Form 6-Summary
(10/05)

In re Henry Tarrio

United States Bankruptcy Court
Southern District of Florida

Case No.

 

 

Debtor

Chapter

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
also complete the "Statistical Summary of Certain Liabilities."

AMOUNTS SCHEDULED

13

 

ATTACHED

NO. OF

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME OF SCHEDULE ASSETS LIABILITIES
(YES/NO) | SHEETS OTHER
A - Real Property Yes 1 220,000.00
B - Personal Property Yes 3 772.00
C - Property Claimed as Exempt Yes 1
D - Creditors Holding Secured Yes 4 190,000.00
Claims
E - Creditors Holding Unsecured Yes 1 0.00
Priority Claims
F - Creditors Holding Unsecured Yes 1 0.00
Nonpriority Claims
G - Executory Contracts and Yes 4
Unexpired Leases
H - Codebtors Yes 1
I - Current Income of Individual Yes 1 2,903.34
Debtor(s)
J - Current Expenditures of Yes 1 830.00
Individual Debtor(s)
——_|—
Total Number of Sheets of ALL Schedules 12
Total Assets 220,772.00
Total Liabilities 190,000.00

Copyright (c) 1996-2005 - Best Case Solutions, inc. - Evanston, tL - (800) 492-8037

 

 

 

 

 

 

 

 

 

 

Best Case Bankruptcy
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 5 of 27

“Form 6-Summ2
(10/05)

United States Bankruptcy Court
Southern District of Florida

In re Henry Tarrio Case No.

 

 

Debtor
Chapter 13

STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
[Individual Debtors Only]

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

 

 

 

Type of Liability Amount

Domestic Support Obligations (from Schedule E) 0.00
Taxes and Certain Other Debts Owed to Governmental Units 0.00
(from Schedule E) .
Claims for Death or Personal Injury While Debtor Was Intoxicated 0.00
(from Schedule E) .
Student Loan Obligations (from Schedule F) 0.00
Domestic Support, Separation Agreement, and Divorce Decree 0.00
Obligations Not Reported on Schedule E .
Obligations to Pension or Profit-Sharing, and Other Similar Obligations 0.00
(from Schedule F) :

 

TOTAL 0.00

 

 

 

 

The foregoing information is for statistical purposes only under 28 U.S.C § 159.

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 6 of 27

Form B6A
(10/05)

In re Henry Tarrio Case No.
Debtor

 

 

SCHEDULE A. REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

 

 

Husband. paltrent value of
oe : Nature of Debtor's Wife, , yolors Interest in Amount of
Description and Location of Property Interest in Property Joint, or De duchae any out d Secured Claim
Community Claim or Exemption
1260 Kasim Street, Opa Locka FL - 220,000.00 190,000.00

PL NO 1 OPA LOCKA PB 25-44 E20 FT

LOT 11 & ALL LOT 12 BLK 18

LOT SIZE 66.410 X 129 OR 20835-4578 1102 1
COC 22759-2826 10 2004 1

 

Sub-Total > 220,000.00 (Total of this page)

Total > 220,000.00

0 continuation sheets attached to the Schedule of Real Property (Report also on Summary of Sche dules)

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - {800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 7 of 27

Form B6B
(10/05)

In re Henry Tarrio Case No.

 

 

Debtor

SCHEDULE B. PERSONAL PROPERTY

Except as directed below, list all personal Property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."

Husband. Current Value of
Description and Location of Property Joint’ or Debtor's In Deducting oer
Community Secured Claim or Exemption

Type of Property

MZOZ

 

1. Cash on hand cash on hand - 22.00

2. Checking, savings or other financial no checking account - 0.00
accounts, certificates of deposit, or
shares in banks, savings and loan,
thrift, building and loan, and
homestead associations, or credit
unions, brokerage houses, or
cooperatives.

3. Security deposits with public x
utilities, telephone companies,
landlords, and others.

4. Household goods and furnishings, furniture: bedroom, livingroom, kitchen, - 600.00
including audio, video, and diningroom
computer equipment.

5. Books, pictures and other art X
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.

6. Wearing apparel. clothing - 50.00
7. Furs and jewelry. jewelry: watch, ring - 100.00

8. Firearms and sports, photographic, xX
and other hobby equipment.

9. Interests in insurance policies. X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name each Xx
issuer.

 

Sub-Total > 772.00
(Total of this page)

2__ continuation sheets attached to the Schedule of Personal Property

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
Form B
(10/05)

In re

 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 8 of 27

6B

Henry Tarrio

 

Debtor

Case No,

 

SCHEDULE B. PERSONAL PROPERTY

(Continuation Sheet)

 

it.

19,

20.

21,

Sheet

Type of Property

Interests in an education IRA as
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the
record(s) of any such interest(s).

11 U.S.C. § 521(c); Rule 1007(b)).

. Interests in IRA, ERISA, Keogh, or

other pension or profit sharing
plans. Give particulars.

. Stock and interests in incorporated

and unincorporated businesses.
Itemize.

. Interests in partnerships or joint

ventures. Itemize.

. Government and corporate bonds

and other negotiable and
nonnegotiable instruments.

. Accounts receivable.

. Alimony, maintenance, support, and

property settlements to which the
debtor is or may be entitled. Give
particulars.

Other liquidated debts owing debtor
including tax refunds. Give
particulars,

Equitable or future interests, life
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

Contingent and noncontingent
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

Other contingent and unliquidated
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of each.

1 of _2 _ continuation sheets attached

to the Schedule of Personal Property

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037

< | mZz0oz

Description and Location of Property

Husband,
Wife,
Joint, or

Community Se

Current Value of

Debtor's Interest in Property,

without Deducting any
cured Claim or Exemption

 

Sub-Total >
(Total of this page)

0.00

Best Case Bankruptcy
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 9 of 27

 

 

 

 

 

Form B6B
(10/05)
In re Henry Tarrio Case No.
Debtor
SCHEDULE B. PERSONAL PROPERTY
(Continuation Sheet)
N Husband, Deb Current Value of
T PP . oe : ife, ebtor's Interest in Property,
ype of Property N Description and Location of Property Joint, or without Deducting any
E Community Secured Claim or Exemption
22. Patents, copyrights, and other Xx
intellectual property. Give
particulars.
23. Licenses, franchises, and other x
general intangibles. Give
particulars.
24. Customer lists or other compilations Xx
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes.
25. Automobiles, trucks, trailers, and no vehicle in debtor's name - 0.00
other vehicles and accessories.
26. Boats, motors, and accessories. X
27. Aircraft and accessories. X
28. Office equipment, furnishings, and X
supplies.
29. Machinery, fixtures, equipment, and X
supplies used in business.
30. Inventory. xX
31. Animals. Xx
32. Crops - growing or harvested. Give x
particulars.
33. Farming equipment and xX
implements.
34. Farm supplies, chemicals, and feed. Xx
35. Other personal property of any kind Xx
not already listed. Itemize.
Sub-Total > 0.00
(Total of this page)
; Total > 772.00
Sheet 2 of _2 _ continuation sheets attached

to the Schedule of Personal Property

(Report also on Summary of Schedules)

Copyright (c) 1996-2005 - Best Case Solutions, inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 10 of 27

Form B6C
(10/05)

In re Henry Tarrio

 

Debtor

Case No.

 

SCHEDULE C. PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under:

(Check one box)
OF 11 US.C. §522(b)\(2)
Mi 11 U.S.C. §522(b)(3)

Description of Property

Cash on Hand
cash on hand

Household Goods and Furnishings

furniture: bedroom, livingroom, kitchen,
diningroom

Wearing Apparel
clothing

Furs and Jewelry
jewelry: watch, ring

Specify Law Providing
Each Exemption

Fla. Const. art. X, § 4(a)(2)

Fla. Const. art. X, § 4(a)(2)

Fla. Const. art. X, § 4(a)(2)

Fla. Const. art. X, § 4(a)(2)

0 continuation sheets attached to Schedule of Property Claimed as Exempt
Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037

Value of
Claimed
Exemption

22.00

600.00

50.00

100.00

O Check if debtor claims a homestead exemption that exceeds
$125,000.

Current Value of
Property Without
Deducting Exemption

22.00

600.00

50.00

100.00

Best Case Bankruptcy
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 11 of 27

Form BoD
(10/08)

In re Henry Tarrio

 

Debtor

Case No.

 

SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four di
of the debtor as of the date of filing of the petition. The com

igits of any account number of all entities holding claims secured by property
plete account number of any account the debtor has with the creditor is useful to the trustee

and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

practicable. If a minor child is a creditor, indicate that by stating "a minor child” and do not disclose

List creditors in alphabetical order to the extent
the child's name. See 11 U.S.C§112; Fed.R.Bankr.P.

1007(m). If all secured creditors will not fit on this page, use the

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X"
on the appropriate schedule of creditors, and‘complete Schedule H-Codebtors. If a joint petition is

marital community may be liable on each claim by placing an "H", "W", "J", or "C*
claim is contingent, place an "X" in the column labeled "Contingent"
the claim is disputed, place an "X" in the column labeled "Disputed"

Report the total of all claims listed on this schedule in the box labeled "Total"

the Summary of Schedules.

O_ Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

in the column labeled
. If the claim is unliquidated, place an
. (You may need to place an "X"

continuation sheet provided.

in the column labeled "Codebtor", include the entity
filed, state whether husband, wife, both of them, or the
"Husband, Wife, Joint, or Community." If the
"X" in the column labeled "Unliquidated". If
in more than one of these three columns.)

on the last sheet of the completed schedule. Report this total also on

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. c Husband, Wife, Joint, or Community CijuJo AMOUNT OF
'SNA 0 O|N]
AND MAILING ADDRESS a DATE CLAIM WAS INCURRED, "rds witn UNSECURED
AND ACCOUNT NUMBER Ty DESCRIPTION AND VALUE Nf ult VALUE OE ANY”
(See instructions above.) R}° SUMTER TIEN E/>/0] COLLATERAL
Account No. First Mortgage "WE
1260 Kasim Street, Opa Locka FL D
Mortgage Electronic Registration PL NO 1 OPA LOCKA PB 25-44 E20 FT
clo Codilis & Strwarski LOT 11 & ALL LOT 12 BLK 18
4010 Boy Scout Boulevard LOT SIZE 66.410 X 129 OR 20835-4578
. - 11102 1
Suite ee 933607 COC 22759-2826 10 2004 1
‘ampa,
Value $ 220,000.00 190,000.00 0.00
Account No.
Value $
Account No.
Value $
Account No.
Value $
Subtotal
0 . .
continuation sheets attached (Total of this page) 190,000.00
Total 190,000.00

(Report on Summary of Schedules)

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037

 

 

 

Best Case Bankruptcy

 
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 12 of 27

Form B6E
(10/05)

In re Henry Tarrio Case No.

 

 

Debtor

SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities hoiding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See
11 U.S.C.8112; Fed.R.Bankr.P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of
them or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
Community”. If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one
of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total aiso on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. If applicable, also
report this total on the Means Test form.

Mi Check this box if debtor has no creditors hoiding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

1 Domestic support obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

C] Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier
of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a\3).

C1 Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or
the cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(4).

() Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a\(5).

[J Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

(1 Deposits by individuals
Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

OD Taxes and certain other debts owed to governmental units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).

C) Commitments to maintain the capital of an insured depository institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a\(9).

O Claims for death or personal injury while debtor was intoxicated

Claims for death or personai injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of

adjustment. . .
0 continuation sheets attached

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 13 of 27

Form B6F
(10/05)

In re Henry Tarrio Case No.

 

 

Debtor

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate
that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C.§112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in
Scheduies D and E. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
the Summary of Schedules.

M Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME, S Husband, Wife, Joint, or Community § v D
NCL UDING ess eH DATE CLAIM WAS INCURRED AND Myre
AND ACCOUNT NUMBER #]\'| CONSIDERATION FOR CLAIM. IF CLAIM 19/1 4 aount or CLAIM
See j cons ab ole IS SUBJECT TO SETOFF, SO STATE. hee
(See instructions above.) R E 0 5
Account No. T E
D
Account No.
Account No.
Account No.
Subtotal
Q __ continuation sheets attached (Total of this page)
Total
(Report on Summary of Schedules) 0.00

 

 

 

Copyright (c) 1996-2005 - Best Case Solutions, inc. - Evanston, IL - (800) 492-8037 S/N:35408-051201 Best Case Bankruptcy
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 14 of 27

Form B6G
(10/05)

Case No.

 

In re Henry Tarrio
Debtor

SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described. Ifa minor child is a party to one of the leases or contracts,
indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).

Mi Check this box if debtor has no executory contracts or unexpired leases.

a: . . Description of Contract or Lease and Nature of Debtor's Interest.
Name and Mailing Address, Including Zip Code, State whether lease is for nonresidential real property.
of Other Parties to Lease or Contract State contract number of any government contract.

Q continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

Copyright (c) 1996-2005 - Best Case Solutions, inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 15 of 27

Form B6H
(10/05)

In re Henry Tarrio Case No.

 

Debtor

SCHEDULE H. CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a Joint case, that is also liable on any debts listed
by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
indicate that by stating "a minor child” and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
HM Check this box if debtor has no codebtors.

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

0 continuation sheets attached to Schedule of Codebtors

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 16 of 27

Form B61
(10/05)

Inre Henry Tarrio Case No.

 

Debtor(s)

SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor's Marital Status: DEPENDENTS OF DEBTOR AND SPOUSE
RELATIONSHIP: AGE:
Single - -
Employment: DEBTOR SPOUSE
Occupation poultry farmer
Name of Employer Live Oak Poultry, Inc.
How long employed 1 year
Address of Employer 14127 Country Road 252
Live Oak, FL 32060
INCOME: (Estimate of average monthly income) DEBTOR SPOUSE
1. Current monthly gross wages, salary, and commissions (Prorate if not paid monthly.) $ 3,466.67 $ N/A
2. Estimate monthly overtime $ 0.00 $ N/A
3. SUBTOTAL | $ 3,466.67 5 N/A
4. LESS PAYROLL DEDUCTIONS
a. Payroll taxes and social security $ 563.33 $ N/A
b. Insurance $ 0.00 $ N/A
c. Union dues $ 0.00 $ N/A
d. Other (Specify): $ 0.00 $ N/A
$ 0.00 $ N/A
5. SUBTOTAL OF PAYROLL DEDUCTIONS $ 563.33 $ N/A
6. TOTAL NET MONTHLY TAKE HOME PAY $ 2,903.34 § N/A
7. Regular income from operation of business or profession or farm. (Attach detailed statement) $ 0.00 $ N/A
8. Income from real property $ 0.00 $ NIA
9. Interest and dividends $ 0.00 $ N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
that of dependents listed above. $ 0.00 $ N/A
11. Social security or other government assistance
(Specify): $ 0.00 $ N/A
$ 0.00 $ N/A
12. Pension or retirement income $ 0.00 $ N/A
13. Other monthly income
(Specify): $ 0.00 $ N/A
$ 0.00 $ N/A
14. SUBTOTAL OF LINES 7 THROUGH 13 $ 0.00 $¢ N/A
15. TOTAL MONTHLY INCOME (Add amounts shown on lines 6 and 14) $ 2,903.34 $ N/A
16. TOTAL COMBINED MONTHLY INCOME: $ 2,903.34 (Report also on Summary of Schedules)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 17 of 27

Form B6J
(10/05)

Inre _ Henry Tarrio Case No.

Debtor(s)

 

SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments

made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

QO Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of

expenditures labeled "Spouse."

1. Rent or home mortgage payment (include lot rented for mobile home)

a. Are real estate taxes included? Yes No_X
b. Is property insurance included? Yes No_X
2. Utilities: a. Electricity and heating fuel

b. Water and sewer
c. Telephone
d. Other

 

. Home maintenance (repairs and upkeep)

. Food

. Clothing

. Laundry and dry cleaning

. Medical and dental expenses

. Transportation (not including car payments)

9. Recreation, clubs and entertainment, newspapers, magazines, etc.
10. Charitable contributions

11. Insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner's or renter's

b. Life

c. Health

d. Auto

e. Other

om AM &

 

12. Taxes (not deducted from wages or included in home mortgage payments)

(Specify)

 

13. Installment payments: (In chapter 11, 12 and 13 cases, do not list payments to be included in the
plan.)

a. Auto

b. Other

 

c. Other

 

d. Other

 

14, Alimony, maintenance, and support paid to others

15. Payments for support of additional dependents not living at your home

16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
17. Other

 

Other

 

18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)

19. Describe any increase or decrease in expenditures anticipated to occur within the year following the

filing of this document:

 

20. STATEMENT OF MONTHLY NET INCOME

a. Total monthly income from Line 16 of Schedule I
b. Total monthly expenses from Line 18 above

c. Monthly net income (a. minus b.)

 

 

 

 

 

 

PAAAHAHH HAHH
o
°
2
2
3S

 

 

 

 

 

PAAHAYH
o
o°
oO

wn
2
°
3S

 

 

 

 

 

FAFA FA HHH
o
o
o

 

 

$ 2,903.34
$ 830.00
$ 2,073.34
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 18 of 27

Official Form 6-Decl.
(10/05)

United States Bankruptcy Court
Southern District of Florida

Inre _Henry Tarrio Case No.

 

Debtor(s) Chapter 13

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of

14__ sheets /total shown on summary page plus 2], and that they are true and correct to the best of my
knowledge, information, and belief.

Date Signature

 

 

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 19 of 27

Official Form 7
(10/05)
United States Bankruptcy Court
Southern District of Florida
Inre _ Henry Tarrio Case No.

 

 

Debtor(s) Chapter 13

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as weil as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

Questions | - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

DEFINITIONS

“In business." A debtor is “in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time, An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

“Insider.” The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
O business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

$29,000.00 wages 2003
$32,000.00 wages 2004
$38,000.00 wages 2005

2. Income other than from employment or operation of business
None State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
a during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 20 of 27

3. Payments to creditors
None — Complete a. or b., as appropriate, and c.

a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
creditor on account of a domestic support obligation or as part of an alternative tepayment schedule under a plan by an approved
nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
either or both spouses whether or not a joint petition is filed, unless the Spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATES OF AMOUNT STILL
OF CREDITOR PAYMENTS AMOUNT PAID OWING

None b, ~— Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
a immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT
DATES OF PAID OR
PAYMENTS/ VALUE OF AMOUNT STILL
NAME AND ADDRESS OF CREDITOR TRANSFERS TRANSFERS OWING

None ¢. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
a creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND AMOUNT STILL
RELATIONSHIP TO DEBTOR DATE OF PAYMENT AMOUNT PAID OWING

4. Suits and administrative proceedings, executions, garnishments and attachments
None a, List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
Oo this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning cither or both spouses

whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR

AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION
Mortgage Electronic mortgage foreclosure Circuit Court of dade County

Registration v. Tarrio

None __b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
a preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE DESCRIPTION AND VALUE OF
BENEFIT PROPERTY WAS SEIZED DATE OF SEIZURE PROPERTY

5. Repossessions, foreclosures and returns

None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
a retuned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

DATE OF REPOSSESSION,
NAME AND ADDRESS OF FORECLOSURE SALE, DESCRIPTION AND VALUE OF
CREDITOR OR SELLER TRANSFER OR RETURN PROPERTY

Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 21 of 27

6. Assignments and receiverships
None a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
a this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DATE OF
NAME AND ADDRESS OF ASSIGNEE ASSIGNMENT TERMS OF ASSIGNMENT OR SETTLEMENT
None __b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
a preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)
NAME AND LOCATION
NAME AND ADDRESS OF COURT DATE OF DESCRIPTION AND VALUE OF
OF CUSTODIAN CASE TITLE & NUMBER ORDER PROPERTY
7. Gifts

None _List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary

“— and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF RELATIONSHIP TO DESCRIPTION AND
PERSON OR ORGANIZATION DEBTOR, IF ANY DATE OF GIFT VALUE OF GIFT
8. Losses

None _List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
a since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE LOSS WAS COVERED IN WHOLE OR IN PART
OF PROPERTY BY INSURANCE, GIVE PARTICULARS DATE OF LOSS

9. Payments related to debt counseling or bankruptcy
None List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation

Oo concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
preceding the commencement of this case.

DATE OF PAYMENT, AMOUNT OF MONEY
NAME AND ADDRESS NAME OF PAYOR IF OTHER OR DESCRIPTION AND VALUE
OF PAYEE THAN DEBTOR OF PROPERTY
Law Office of John Bristol legal fees $500.00

400 N. Pine Island Road
Second Fioor
Piantation, FL 33324

10. Other transfers

None —_a._List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
a transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY TRANSFERRED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED

Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 22 of 27

None __b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
a trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE DATE(S) OF VALUE OF PROPERTY OR DEBTOR'S INTEREST
TRANSFER(S) IN PROPERTY

11. Closed financial accounts

None _List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
a otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR

DIGITS OF ACCOUNT NUMBER, AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING

12. Safe deposit boxes

None List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year

a immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK OF THOSE WITH ACCESS DESCRIPTION DATE OF TRANSFER OR
OR OTHER DEPOSITORY TO BOX OR DEPOSITORY OF CONTENTS SURRENDER, IF ANY
13. Setoffs

None List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
a commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF SETOFF AMOUNT OF SETOFF
14. Property held for another person

None _List all property owned by another person that the debtor holds or controls.

DESCRIPTION AND VALUE OF
NAME AND ADDRESS OF OWNER PROPERTY LOCATION OF PROPERTY

15. Prior address of debtor

None [f the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
a occupied during that period and vacated prior to the commencement of this case. Ifa joint petition is filed, report also any separate
address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY
16. Spouses and Former Spouses
None —_|f the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
a Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the

commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
the community property state.

NAME

Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 23 of 27

17. Environmental Information.
For the purpose of this question, the following definitions apply:

“Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
statutes or regulations regulating the cleanup of these substances, wastes, or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
owned or operated by the debtor, including, but not limited to, disposal sites.

“Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
pollutant, or contaminant or similar term under an Environmental Law

None —_a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
af or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
the Environmental Law:

NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW
None __b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
wg Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW

None cc. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
a the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT DOCKET NUMBER STATUS OR DISPOSITION

18 . Nature, location and name of business

None a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
a ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
within six years immediately preceding the commencement of this case.

If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
years immediately preceding the commencement of this case.

if the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
years immediately preceding the commencement of this case.

LAST FOUR DIGITS
OF SOC, SEC. NO./
COMPLETE EIN OR

OTHER TAXPAYER BEGINNING AND
NAME LD. NO. ADDRESS NATURE OF BUSINESS ENDING DATES
None __. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
s
NAME ADDRESS

Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, iL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 24 of 27

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

19. Books, records and financial statements

None a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED
None __b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
| of account and records, or prepared a financial statement of the debtor.
NAME ADDRESS DATES SERVICES RENDERED
None _ c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
a of the debtor. If any of the books of account and records are not available, explain.
NAME ADDRESS
None d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
| issued by the debtor within two years immediately preceding the commencement of this case.
NAME AND ADDRESS DATE ISSUED

20. Inventories

None a, List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
a and the dollar amount and basis of each inventory.

DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other basis)

None _. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.

NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY RECORDS

21. Current Partners, Officers, Directors and Shareholders

None a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST

None __b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
a controls, or holds 5 percent or more of the voting or equity securities of the corporation.

NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doc1 Filed 01/31/06 Page 25 of 27

22 . Former partners, officers, directors and shareholders

None a, If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the

m commencement of this case.
NAME ADDRESS DATE OF WITHDRAWAL
None __, If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
@ ss immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION
23 , Withdrawals from a partnership or distributions by a corporation
None If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation

a in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR OF WITHDRAWAL VALUE OF PROPERTY

24, Tax Consolidation Group.

None If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated

a group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
of the case. ,
NAME OF PARENT CORPORATION TAXPAYER IDENTIFICATION NUMBER (EIN)

25. Pension Funds.

None —_[f the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER IDENTIFICATION NUMBER (ETN)

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
a

I declare under penalty of perjury that I have read the answers contained in the fore
and that they are true and correct.

 
 
  

Date Signature

 

Penalty for making a false statement: Fine of up to $500,000 Jr imprisonment for up to 5 years, or both. 18 U.S.C. $§ 152 and 3571

Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
 

Case 06-10290-AJC Doci1 Filed 01/31/06 Page 26 of 27

B 201 (10/05)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
OF THE BANKRUPTCY CODE

In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

‘Chapter 7: Liquidation ($220 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $274)

1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($150 filing fee,
$39 administrative fee: Total fee $189)

1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.

2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
Case 06-10290-AJC Doci1 Filed 01/31/06 Page 27 of 27

B 201 (10/05)

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied bya
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and t tules of the court.

 

Certificate of Attorney
I hereby certify that I delivered to the debtor this notice required by § 342(b) e Bankruptcy Code.

John D. Bristol

 

 

400 N. Pine Island Road
Second Floor
Plantation, FL 33324
(954) 475-2265

Certificate of Debtor Li /
I (We), the debtor(s), affirm that I (we) have received and read this noticé,,Z

LO f y
‘ xX a . : . 7
Printed Name of Attorney Sigeatuyé of Attorney \ Date
Address: “

  

 

 

py
Henry Tarrio if.
Printed Name(s) of Debtor(s) ee Debtor Date
Case No. (if known) x Mf

 

 

Signature of Joint Debtor (if any) Date

Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037 Best Case Bankruptcy
